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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION


MATTHEW OLIVER REARDON                                                               PLAINTIFF


v.                                               CIVIL ACTION No.: 3:22-cv-00050-SA-JMV


THE STATE OF MISSISSIPPI;
LAFAYETTE COUNTY, MISSISSIPPI;
LAFAYETTE COUNTY CHANCERY COURT;
COMMUNICARE;
MISSISSIPPI DEPARTMENT OF MENTAL HEALTH;
LAFAYETTE COUNTY SHERIFF’S DEPARTMENT;
JOSEPH B. EAST;
DR. SANDY ROGERS;
RACHEL ALCORN;
SUSAN BEARD;
SHERRY WALL;
JEFF BUSBY;
DAVID O’DONNELL                                                  DEFENDANTS
______________________________________________________________________________

                             MOTION TO DISMISS
______________________________________________________________________________

       COMES NOW, the Mississippi Department of Mental Health (“Department”) and files

this, its Motion to Dismiss all claims made against it, pursuant to Federal Rule of Civil Procedure

12. The Department would show unto the Court, the following:

                                       Federal Law Claims

       1.      The Plaintiff in his First Amended Complaint [Doc. 30] named the Mississippi

Department of Mental Health as defendant and served process through the Mississippi Attorney

General’s Office.

       2.      The Department has not consented to this lawsuit or to this Court’s jurisdiction nor

has the Department, as an arm of the State, waived its sovereign immunity in this Court.
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        3.      The Department, as an arm of the State, thus enjoys Eleventh Amendment

immunity from suit, except under narrow circumstances.

        4.      This Court should therefore dismiss the Plaintiff’s alleged violations of federal law

brought under 42 United States Code Sections 1983, 1985, and 1986, as this Court lacks

jurisdiction, the Department is not considered a “person” as contemplated by the sections, and

none of the narrow circumstances such as the Ex parte Young exception or abrogation apply here.

        5.      This Court should dismiss the Plaintiff’s alleged violation of federal law brought

under 18 United States Code Section 242, as that relief is unavailable to private citizens in civil

lawsuits.

        6.      Likewise, this Court should dismiss the Plaintiff’s alleged violation of the False

Claims Act, 31 United States Code Sections 3729 et seq., as the Plaintiff provides no factual

allegations having any relation to the Act and there is a clear misapprehension of what constitutes

a “false claim” under the Act.

        7.      Finally, another basis to dismiss all the Plaintiff’s claims arising under federal law

as he fails to state any claim or allege any facts against the Department, on which this Court could

grant relief.

        8.      As such, and for all the reasons set forth in the corresponding Memorandum of Law

supporting this Motion, this Court should dismiss all the Plaintiff’s claims arising under federal

law.

                                         State Law Claims

        9.      For the Plaintiff’s alleged tort-based or state-law-based claims against the

Department, the Mississippi Tort Claims Act (“MTCA”) governs those claims.
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       10.     Under the MTCA, the State of Mississippi expressly preserved its Eleventh

Amendment immunity for tort-based or state-law-based claims brought in this Court. Thus, the

Department, as an arm of the State, is immune from suit in this Court for those claims.

       11.     Further, the Plaintiff failed to adhere to the notice and procedural requirements

mandated by the MTCA.

       12.     As such, and for all the reasons set forth in the corresponding Memorandum of Law

supporting this Motion, this Court should dismiss all the Plaintiff’s claims arising under state law.

       WHEREFORE, PREMISES CONSIDERED, the Department respectfully requests this

Court dismiss all claims made against it here with prejudice, where proper. The Department also

requests any other relief this Court deems just and proper.

       RESPECTFULLY SUBMITTED, this the 20th day of October, 2022.

                               THE MISSISSIPPI DEPARTMENT OF MENTAL HEALTH

                       BY:     LYNN FITCH, ATTORNEY GENERAL
                               FOR THE STATE OF MISSISSIPPI

                               /s/ Drew D. Guyton
                       BY:     DREW D. GUYTON, MS Bar No. 104451
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                                 CERTIFICATE OF SERVICE

       I, Drew D. Guyton, Special Assistant Attorney General for the State of Mississippi, do

hereby certify that on this date I electronically filed the foregoing document with the Clerk of this

Court using the Court’s electronic filing system, which transmitted a copy to all counsel of record.

       Further, I certify I have physically mailed – via USPS Certified Mail, postage prepaid, with

a return receipt requested – a true and correct copy of the foregoing document in the above-styled

and numbered cause to the following party/counsel:

       Matthew Reardon
       117 CR 401
       Oxford, Mississippi 38655

       Pro se Plaintiff

       This the 20th day of October, 2022.

                                              /s/ Drew D. Guyton
                                              Drew D. Guyton
